        Case 3:19-cv-00489-YY               Document 2    Filed 04/03/19     Page 1 of 10




                                   UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                       _P_o_rt_la_nd_ _ _ _ DIVISION




    Je,r('.:,r1'/e._   fVly/,,,,
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                                   7?e()/r,:Pt,~ //   Civil Case No. 3:19-cv-00489-YY
(Enter full name ofplaintifj)
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                                                      (to be assigned by Clerk's Office)
                          Plaintiff,

                              v.                      COMPLAINT FOR VIOLATION OF CIVIL
                                                      RIGHTS (PRISONER COMPLAINT)


                                                       Jury Trial Demanded

                                                      '¢Yes            0No



(Enter full name ofALL defendant(s))


                          Defendant(s).



                                               I. PARTIES

        List your name, address, and telephone number below, and the same information for
 each defendant. Make sure that the defendant(s) listed below are identical to those
 contained in the caption of the complaint. Attach additional sheets ofpaper if necessary.


 Plaintiff                                  1 !ero'1c    /lf,4r   Ht,,,1e::~~//
                              Name: _ _....,,v,-/-'~~~~-'-'7~.~~,,=..~~----
                              Street Address: 0 7'(l S /!{ I I,
                              City,State&ZipCode:     (""'or,1cL1a~. I'of ?7117
                              Telephone No.:
Complaint for Violation of Civil Rights (Prisoner Complaint)                                 I
[Rev. 01/2018]
        Case 3:19-cv-00489-YY              Document 2            Filed 04/03/19           Page 2 of 10




 Defendant No. 1           Name:      LJJ,I        o~          )), //4 fJc:;10
                                                          5
                           Street Address: _,_/~)'_o_·_    _v_fc~•~·r~JT~A~-v~E_,_____
                          City, State & Zip Code:         ~lt~i~/~~J~b~o~l~u"-c7I-'a_r~,;(_-~'1_7~/J~J
                          Telephone No.:


 Defendant No. 2




                          Telephone No.:


 Defendant No. 3          Name:    ~S~h~er~i_f'f_-~(;_,'~'ti~J~f_____
                          Street Address: _2~1S~_s_v~A~/4~"~·"'~-~~~ll~v:~t~-----
                          City, State & Zip Code: )l /)5 bo1 ;_, 01( 17/Z]
                          Telephone No.:


 Defendant No. 4          Name:
                                  ------------------
                          Street Address:
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                          City, State & Zip Code: _ _ _ _ _ _ _ _ _ _ __

                          Telephone No.:


                                  II. BASIS FOR JURISDICTION

         Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any
 rights, privileges, or immunities secured by the Constitution and [federal laws]." Under Bivens
 v. Six Unknown Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue
 federal officials for the violation of certain constitutional rights.

        A. You are bringing suit against (check all that apply):

                 D Federal officials (a Bivens claim)
                 1   State or local officials (a§ 1983 claim)



Complaint for Violation of Civil Rights (Prisoner Complaint)                                             2
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         B. What federal constitutional, statutory, or treaty right(s) is/are at issue?




                                 III. STATEMENT OF CLAIMS

                                                  Claim I

         State here as briefly as possible the facts of your case. Describe how each defendant
 was involved, when the conduct occurred, and any injuries you have suffered as a result.
 It is not necessary to give any legal arguments or cite any cases or statutes.




         State here as briefly as possible the facts of your case. Describe how each defendant
 was involved, when the conduct occurred, and any injuries you have suffered as a result.
 It is not necessary to give any legal arguments or cite any cases or statutes.

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Complaint for Violation of Civil Rights (Prisoner Complaint)                                                   3
[Rev. 01/2018]
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       State here as briefly as possible the facts ofyour case. Describe how each defendant was·
 involved, when the conduct occurred, and any injuries you have suffered as a result. It is not
 necessary to give any legal arguments or cite any cases or statutes.

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 (Ifyou have additional claims, describe them on another piece ofpaper, using the same
 outline.)

Complaint for Violation of Civil Rights (Prisoner Complaint)                                                            4
[Rev. 01/2018]
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                               IV. EXHAUSTION OF ADMINISTRATIVE REMEDIES

            I have filed for administrative relief as to all claims in Section III and have concluded all
            administrative appeals available to me.


                                             Jz0'es                       □ No


                                                           V. RELIEF

                   State briefly exactly what you want the court to do for you and the amount, ifany, of
              monetary compensation you are seeking. Make no legal arguments. Cite no cases or statutes.

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                    I declare under penalty of perjury that the foregoing is true and correct.

                    Signed this    2f       dayof      f/1,,.rvi                        ,20/C,.

STATE OF OREGON )
                    ) ss.
County of Washington)

This instrument was acknowledged before
me on ~ 2.0 61                       by                                                                        OFFICIAL STAMP
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                                                       its (Prisoner Complaint)                 MY COMMISSION EXPIRES APRIL 03, 2 0


NotaryPubic for Oregon
My commission expires: '-/    /J lz~zo
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